Case 1:18-cr-20780-RNS Document 1 Entered on FLSD Docket 09/28/2018

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

18-20780-CR-SCOLA/TORRES

18 U.S.C. § 3146(a)(1) and (b)(1)(A)(i)
18 U.S.C. § 401(3)

 

UNITED STATES OF AMERICA
vs.
EDDY UBALDO MARIN,

Defendant.

INDICTMENT
The Grand Jury charges that:

COUNT 1
Failure to Appear
(18 U.S.C. § 3146(a)(1) and (b)(1)(A)(i))

 

 

PAGE ih OT YH oc.

Sep 27, 2018

STEVEN M. LARIMORE
CLERK U.S. DIST. CT.
$.0. OF FLA —hlLAtl

 

On or about July 23, 2018, in Miami-Dade County, in the Southern District of Florida, the

defendant,

EDDY UBALDO MARIN,

having previously been convicted in the case of United States v. Eddy Ubaldo Marin, 18-20354-

CR-GAYLES, for a violation of Title 15, United States Code, Sections 78j(b) and 78ff(a), that is,

securities fraud, an offense punishable by imprisonment for a term up to twenty (20) years, and

having been released on bond by the United States District Court for the Southern District of

Florida pursuant to Chapter 207 of Title 18, United States Code, did knowingly fail to appear

before a court, as required by the conditions of his release, in violation of Title 18, United States

Code, Section 3146(a)(1) and (b)(1)(A)(i).

 
Case 1:18-cr-20780-RNS Document 1 Entered on FLSD Docket 09/28/2018 Page 2 of 4

COUNT 2
Contempt of Court
(18 U.S.C. § 401(3))
On or about July 23, 2018, in Miami-Dade County, in the Southern District of Florida, the
defendant,
EDDY UBALDO MARIN,
did knowingly and willfully, and in disobedience and resistance to lawful orders and commands
of the United States District Court for the Southern District of Florida, previously pronounced in
Miami, Florida in the case of United States v. Eddy Ubaldo Marin, 18-20354-CR-GAYLES,
violate conditions of his pretrial release as ordered by the court, in that the defendant, without
notifying and obtaining the permission of the court: (1) permanently vacated his residence on or
about July 23, 2018; and (2) failed to report to Pretrial Services as directed, in violation of Title

18, United States Code, Section 401(3).

A TRUE BILL \

a

FOREPERSON

 

| Cod Nk

ARIANA FAJARDO ORSHAN
UNITED STATES, ATTORNEY,

 

JERROB DUFFY VY
ASSISTANT UNITED STATES ATTORNEY
Case 1:18-cr-20780-RNS Doonprepistaresaesrarcricapcket 09/28/2018 Page 3 of 4

SOUTHERN DISTRICT OF FLORIDA

 

 

 

UNITED STATES OF AMERICA CASE NO.
Vv. .
EDDY UBALDO MARIN, CERTIFICATE OF TRIAL ATTORNEY*
Defendant.
/ Superseding Case Information:
Court Division: (Select One) New Defendant(s) Yes No
Number of New Defendants

_X Miami Key West Total number of counts

FIL WPB FTP

I do hereby certify that:

1. T have carefully considered the allegations of the indictment, the number of defendants, the number

of probable witnesses and the legal complexities of the Indictment/Information attached hereto.

2. Iam aware that the information supplied on this statement will be relied upon by the Judges of this
Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
Act, Title 28 U.S.C. Section 3161.
3. Interpreter: (Yes or No) NO
List language and/or dialect
4. This case will take 5 days for the parties to try.
5. Please check appropriate category and type of offense listed below:
(Check only one) (Check only one)
0 to 5 days Xx Petty
6 to 10 days Minor
11 to 20 days Misdem.
Felony x

61 days and over

 

I

I

Ol

IV 21 to 60 days
Vv

6

Has this case been previously filed in this District Court? (Yes orNo) NO

Judge: Case No.

(Attach copy of dispositive order)

Has a complaint been filed in this matter? (Yes or No) NO
yes:

Magistrate Case No.

Related Miscellaneous numbers: T8-2354-CR-Gayles

Defendant(s) in federal custody as of

Defendant(s) in state custody as of

Rule 20 from the District of

Is this a potential death penalty case? (Yes or No) NO

 

 

 

 

7. Does this case originate from a matter pending in the Northern Region of the U.S. Attorney’s Office

prior to October 14, 2003? Yes No_ xX
VY. Af

Jerro, ff¥
Assiftanf United States Attorney
Court Né.: A5501106

*Penalty Sheet(s) attached REV 5/3/17
Case 1:18-cr-20780-RNS Document 1 Entered on FLSD Docket 09/28/2018 Page 4 of 4

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

PENALTY SHEET
Defendant's Name: EDDY UBALDO MARIN

Case No:

 

Count #: 1
Failure to Appear

Title 18, United States Code, Section 3146(a)(1)

 

Max. Penalty: Ten (10) years’ imprisonment
Count #: 2

Contemp of Court

 

Title 18, United States Code, Section 401(3)

*Max. Penalty: Life Imprisonment

 

*Refers only to possible term of incarceration, does not include possible fines, restitution,
special assessments, parole terms, or forfeitures that may be applicable.
